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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )
                                             )
Jacob Chansley                               )
                                             )       Cause No.: 1:21-cr-00003
        Defendant                            )
                                             )
                                             )
                                             )


                           MEMORANDUM IN SUPPORT OF
                          DEFENDANT’S MOTION TO DISMISS
                          COUNT TWO OF THE INDICTMENT


     TO THE HONORABLE ROYCE C. LAMBERTH, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:
        COMES NOW JACOB CHANSLEY, the Defendant in the above styled and numbered

cause, by and through undersigned counsel, and submits the following memorandum in support

of his Motion to Dismiss Count two of the Indictment.

I.    Introduction and Background

        Mr. Chansley is charged by indictment for acts allegedly committed at the United States

Capitol Building on January 6, 2021. (Doc. No. 23). More specifically, he is charged in six

counts as follows:

        Count One: Civil Disorder, in violation of 18 U.S.C.§231(a)(3)

        Count Two: Obstruction of an Official Proceeding, in violation of 18 U.S.C.§1512 (c)(2)

        Count Three: Entering and Remaining in a Restricted Building, in violation of 18

        U.S.C.§1752 (a)(2)




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       Count Four: Disorderly and Disruptive Conduct in a Restricted Building, in violation of

       18 U.S.C§1752(a)(2)

       Count Five: Violent Entry and Disorderly Conduct in a Capitol Building, in violation of

       40 U.S.C.§5104(e)(2)(A)

       Count Six: Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40

       U.S.C.§5104(e)(2)(G)

       Mr. Chansley disputes the allegation in Count Two for the felony offense of what the

indictment labels as “Obstruction of an Official Proceeding Aiding and Abetting, in violation of

Title 18, United States Code, Sections 1512(c)(2),” as erroneously charged. Section 1512, in

actuality, titles the offense as, “Tampering with a witness, victim, or an informant.” This serves

as the problem with Count Two.

       Section 1512 falls under Chapter 73 of Title 18 which deals with “Obstruction of

Justice.” See generally 18 U.S.C. §§ 1501–1521. The Ninth Circuit has carefully considered and

recognized, based on the plain language of the statute, an offense under Section 1512(c) does not

prohibit the obstruction of every governmental function; it only prohibits the obstruction of

proceedings related to the administration of justice that take place before a tribunal. See United

States v. Ermoian, 752 F.3d 1165, 1171 (9th Cir. 2013). Stated differently, Section 1512(c), by

its plain language, does not criminalize the obstruction of legislative action by Congress. Any

alleged obstruction of the certification of an electoral college vote is simply outside of the reach

of Section 1512.

       Count Two of the indictment is flawed because it fails to specify what “proceeding before

Congress” Mr. Chansley allegedly obstructed and, more importantly, whether it relates to the

administration of justice. Indeed, courts have limited the reach of Section 1512 by holding that




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obstructive conduct is proscribed insofar as it affects a proceeding that is judicial in nature. See

Arthur Anderson, LLP v. United States, 544 U.S. 696, 708, 125 S. Ct. 2129, 161 L. Ed. 2d 1008

(2005); United States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013). This proposition has never

been successfully challenged in any federal court. And, in fact, the history of this legislation

reinforces the unbroken line of cases that establish the violation applies only to proceedings that

are judicial in nature. Pointedly, this legislation was inspired, in part, to address the coverup of

crimes relating to Enron. The Senate Judiciary Committee Report on Section 1512(c)(2) affirms

its applicability to acts undertaken to obstruct a congressional committee investigating potential

federal crimes. S. Rep. No. 107-146, at 2; 4; 6-7 (2002).

       The indictment fails to allege what type of proceeding Mr. Chansley allegedly obstructed.

It is an essential element of the charged offense and necessary for the indictment to provide Mr.

Chansley and this Court with notice of exactly what “proceeding before Congress” Mr. Chansley

allegedly obstructed. Accordingly, the failure to allege what kind of proceeding Mr. Chansley

allegedly obstructed renders the indictment insufficient and this Court must therefore dismiss.

       Mr. Chansley, by and through his undersigned counsel, attempted to informally reconcile

the foregoing with the Government prior to preparing and moving forward with the prosecution

of the present motion. A copy of the June 20, 2021 and June 25, 2021 correspondence issued to

the Government are attached hereto, incorporated herein by reference, and collectively marked

Exhibit A.

II. The Indictment is Insufficient Because it Fails to Specify the “Proceeding Before
Congress” that Mr. Chansley Allegedly Obstructed

       The legal standards applicable to determining the sufficiency of an indictment are fully

set out in United States v. Hillie, 227 F.Supp.3d 57 (D.D.C. 2017). As Judge Jackson recognized,

the sufficiency of an indictment implicates “at least two core constitutional protections”: (1) the



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Sixth Amendment’s right of an individual accused of a crime “to be informed of the nature and

cause of the accusation” and, (2) the Fifth Amendment’s guarantee that a criminal defendant may

only be prosecuted for offenses, the elements of which have been considered and found to exist

by a grand jury such that the defendant may not be subject to multiple prosecutions for the same

offense. Id. at 69–70 (citations omitted). Federal Rule of Criminal Procedure 7(c)(1) secures

these constitutional rights by requiring that an indictment contain a “plain, concise, and definite

written statement of the essential facts constituting the offense charged....” FED. R. CRIM. P.

7(c)(1).

       The Supreme Court decision in Russell v. United States, 369 U.S. 749, 82 S. Ct.1038, 8

L. Ed. 2d 240 (1962), is instructive here, as well. In Russell, the Court held that an indictment

charging a defendant with refusing to answer questions before a congressional subcommittee was

insufficient and affirmed its dismissal because the indictment failed to allege the subject of the

congressional committee’s inquiry, an essential element of the offense. Id. at 754–55, 771–72.

As the Court noted, “Where guilt depends so crucially upon such a specific identification of fact,

our cases have uniformly held that an indictment must do more than simply repeat the language

of the criminal statute.” Id. at 764. The Court noted that, for the specific charged offense in that

case, a violation of 2 U.S.C. § 192 involving the refusal to answer questions before Congress,

“the very core of criminality under [that statute] is pertinency to the subject under inquiry of the

questions which the defendant refused to answer.” Id. at 764. Hence, the indictment’s failure to

identify the subject under inquiry was “thus the violation of the basic principle ‘that the accused

must be apprised by the indictment, with reasonable certainty, of the nature of the accusation

against him, * * *.’” Id. at 766 (quoting United States v. Simmons, 96 U.S. 360, 362, 24 L. Ed.

819 (1877)). Furthermore, the Court held that amending the indictment to add that critical




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information would not suffice as it would fail to satisfy the Fifth Amendment requirement that

the grand jury consider and find all elements of the charged offense. See id. at 771 (citing Stirone

v. United States, 361 U.S. 212, 217, 80 S. Ct. 270, 273, 4 L. Ed. 2d 252 (1960)).

       As it relates to 18 U.S.C. § 1512(c) — the statute that Mr. Chansley allegedly violated as

set out in fCount Two — the court in United States v. McGarrity, 669 F.3d 1218 (11th Cir.

2012), held that an indictment for obstruction under that section is likewise insufficient when it

fails to specify what “official proceeding” was allegedly obstructed. Id. at 123–40. In that case,

the defendants were charged by indictment with obstructing an official proceeding in violation of

18 U.S.C. § 1512(c). Id. at 1239. The indictment, however, did not specify what that official

proceeding was. Id. The court noted this was insufficient to “apprise [] the defendant[s] of what

[charges they] must be prepared to meet” as the only notice given was that the defendants “ob-

structed an unknown official proceeding at some time in some place by some action.” Id.

(quoting Russell, 369 U.S. at 763).

       Count Two of the indictment against Mr. Chansley suffers from the same problem

present in Russell and McGarrity, merely repeating the language of the criminal statute allegedly

violated, in this case Section 1512(c)(2), and, like in McGarrity, failing to specify what “official

proceeding,” or more specifically, what “proceeding before Congress” was allegedly obstructed.

Such information is necessary here because, like in Russell, “the very core of the criminality”

that the statute proscribes depends on “a specific identification of fact” namely, what the

“proceeding” was that Mr. Chansley allegedly obstructed. Russell, 369 U.S. at 764. In sum,

without identifying what “official proceeding” was allegedly obstructed, no criminal charge, in

violation of Section 1512(c)(2), can be sustained. Section 1512(c)(2) simply does not proscribe

the obstruction of any and every proceeding before Congress.




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III.   Specifying the “Proceeding Before Congress” that Mr. Chansley
       Allegedly Obstructed is an Essential Element Because the Statute Only
       Criminalizes Obstruction of Proceedings Related to the Administration
       of Justice

       Ermoian v. United States was one of the first appellate decisions to consider the meaning

of “official proceeding” as that term is used in Section 1512(c) and defined in Section 1515. See

Ermoian, 752 F.3d at 1168 (“Our circuit has never before addressed the meaning of the term

‘official proceeding’ as used in the obstruction of justice statute at 18 U.S.C. § 1512.”). Although

that case considered whether a criminal investigation by the FBI was considered an “official

proceeding” for purposes of the statute, the court noted, “[a]s used in the statute, the definition of

the phrase ‘official proceeding’ depends heavily on the meaning of the word ‘proceeding’” and

further noted, “[t]hat word is used — somewhat circularly — in each of the definitions for an

‘official proceeding’ and is key to the phrase’s meaning.” Id. at 1169.

       Reviewing the plain language of Section 1515, the court explained that “[s]everal aspects

of the definition for ‘official proceeding’ suggest that the legal — rather than the lay —

understanding of the term ‘proceeding’ is implicated in the statute.” Id. at 1170. As the court

pointed out, “the descriptor ‘official’ indicates a sense of formality normally associated with

legal proceedings,” and not “a mere ‘action or series of actions.’” Id. (citing “Proceeding,”

Oxford English Dictionary, available at http://www.oed.com). “Moreover, when used to define

‘official proceeding,’” the court pointed to the fact that “the word ‘proceeding’ is surrounded

with other words that contemplate a legal usage of the term, including ‘judge or court,’ ‘Federal

grand jury,’ ‘Congress,’ and ‘Federal Government agency.’” Id.

       The court then turned to the broader statutory context, looking at Section 1515 as a

whole, noting that “[t]he use of the preposition ‘before’ suggests an appearance in front of the

agency sitting as a tribunal.” Id. at 1171 (emphasis added). The court further looked to another



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circuit’s interpretation of the phrase “official proceeding” and noted, “[a]s the Fifth Circuit

explained when addressing this same definition, ‘use[ of] the preposition ‘before’ in connection

with the term ‘Federal Government agency’ ... implies that an ‘official proceeding’ involves

some formal convocation of the agency in which parties are directed to appear.” Id. (quoting

United States v. Ramos, 537 F.3d 439, 462–63 (5th Cir. 2008)). Additionally, the court pointed

out, “The use of the terms ‘attendance’, ‘testimony’, ‘production’, and ‘summon[]’ when

describing an official proceeding strongly implies that some formal hearing before a tribunal is

contemplated.” Id. at 1172. In conclusion, the court considered “the plain meaning of the term

‘proceeding,’ its use in the grammatical context of the ‘official proceeding’ definition, and the

broader statutory context” to hold that a criminal investigation is not an “official proceeding”

under Section 1512(c). Id.

           The interpretation, reasoning, and logic applied by the court there equally ap-plies here.

Looking at Section 1512 as a whole, it is obvious that the statute solely prohibits conduct that

affects the administration of justice. See 18 U.S.C. § 1512. The statute repeatedly references

“proceedings” in the context of investigations and legal proceedings related to a criminal

investigation. Id. As pointed out supra, even the title of the offense relates to “Tampering with a

witness, victim, or an informant.” Id.; see I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S.

183, 189, 112 S. Ct. 551, 556, 116 L. Ed. 2d 546 (1991) (“the title of a statute or section can aid

in resolving an ambiguity in the legislation’s text.”). There is little doubt, based on the language

of the statute, that the “official proceeding” — and more specifically, the “proceeding before

Congress” — that was allegedly obstructed by Mr. Chansley must relate to the administration of

justice.




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       This is consistent with the caselaw that has clarified the meaning of the statutory

language at issue here. See e.g. Arthur Andersen LLP, 544 U.S. at 708 (interpreting Section

1512(c) as requiring that the defendant have “knowledge that his actions are likely to affect [a]

judicial proceeding” in order to have the “requisite intent to obstruct”); Burge, 711 F.3d at 809

(considering application of Section 1512 and noting “[o]bstruction of justice occurs when a

defendant acts to impede the types of proceedings that take place before judges or grand

juries”); United States v. Sampson, 898 F.3d 287, 300 (2d Cir. 2018) (noting Section 1512

“broadly criminalizes various forms of witness tampering”); United States v. Young, 916 F.3d

368, 386 (4th Cir.), cert. denied, 140 S. Ct. 113, 205 L. Ed. 2d 33 (2019). It is even consistent

with the Department of Justice’s own interpretation as reflected in their Criminal Resource

Manual discussing the application of Section 1512:

       Section 1512 of Title 18 constitutes a broad prohibition against tamper-ing with a
       witness, victim or informant. It proscribes conduct intended to illegitimately affect the
       presentation of evidence in Federal proceedings or the communication of information to
       Federal law enforcement officers.

CRIMINAL RESOURCE MANUAL, CRM 1729, Department of Justice (available at

https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-gov-ernment-

processes-tampering-victims-witnesses-or) (emphasis added).

       The surrounding statutory provisions in Chapter 73 support this interpreta-tion. See

NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir. 2020) (quoting

Util. Air Regulatory Grp. v. E.P.A., 573 U.S. 302, 321, 134 S. Ct. 2427, 189 L. Ed. 2d 372

(2014)) (“A statutory provision that may seem ambiguous in isolation is often clarified by the

remainder of the statutory scheme[,] because only one of the permissible meanings produces a

substantive effect that is compatible with the rest of the law.”). Each one of the statutes contained

therein proscribe obstructive conduct for very specific subjects and settings related to the



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administration of justice. For instance, Section 1510 deals with obstruction of criminal

investigations. 18 U.S.C. § 1510. Sections 1516 through 1518 criminalizes obstruction of

specific types of other investigations. See 18 U.S.C. §§ 1516 (obstruction of a federal audit);

1517 (obstruction of examination of financial institution); 1518 (obstruction of investigations of

health care offenses). Section 1519 prohibits the destruction, alteration, or falsification of records

during a federal investigation. 18 U.S.C. § 1519.

       Indeed, other provision in Chapter 73 explicitly relate to the administration of justice. See

18 U.S.C. §§ 1503, 1504 (influencing or injuring a juror); 1513 (retaliating against a witness,

victim, or informant); 1521 (retaliating against a federal judge or law enforcement officer by

false claim or slander of title). There is even a statute to prohibit “picketing or parading” near the

residence of a judge, juror, witness, or court officer “with the intent of interfering with,

obstruction, or impeding the administration of justice.” 18 U.S.C. § 1507 (emphasis added). As

all these laws are related to the obstruction of the administration of justice and serve to protect

participants in the administration of justice, it follows that, in order to violate Section 1512(c),

there must be some allegation that the “official proceeding” obstructed related to the ad-

ministration of justice.

       Finally, although not required due to the plain meaning of the statute, this Court can also

take comfort by looking at the legislative intent behind Section 1512(c) to know what was meant

by “official proceeding” as used in that statute. See Exxon Mobil Corp. v. Allapattah Servs., Inc.,

545 U.S. 546, 568, 125 S. Ct. 2611, 2626, 162 L. Ed. 2d 502 (2005) (“Extrinsic materials have a

role in statutory interpretation only to the extent they shed a reliable light on the enacting

Legislature’s understanding of otherwise ambiguous terms.”). Section 1512(c) was passed as part

of the Sarbanes




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       Oxley Act of 2002, “An Act to protect investors by improving the accuracy and

reliability of corporate disclosures made pursuant to securities laws, and for other purposes.”

SARBANES–OXLEY ACT OF 2002, Pub. L. No. 107-204, 116 Stat. 745. The Senate Judiciary

Committee report described the Act’s purpose as “provid[ing] for criminal prosecution and

enhanced penalties of persons who defraud investors in publicly traded securities or alter or

destroy evidence in certain Federal investigations.” S. REP. NO. 107-146, at 2 (2002) (emphasis

added). As for the use of the term “official proceeding” in Section 1512(c), because the

legislation was due in part to the collapse of Enron, the Committee Report noted that much of

Enron’s document destruction was “undertaken in anticipation of a SEC subpoena to Andersen

for its auditing and consulting work related to Enron.” Id. at 4. Congress was adamant that

“[w]hen a person destroys evidence with the intent of obstructing any type of investigation and

the matter is within the jurisdiction of a federal agency, overly technical legal dis-tinctions

should neither hinder nor prevent prosecution and punishment.” Id. at 6–7. In short, when

considering the Act’s preamble and the legislative history, it is clear that Section 1512(c) was

aimed at preventing corporations from destroying records relevant to federal securities

investigations and was not intended to apply in all circumstances where a government function

may have been impeded.

       Because Section 1512(c) only applies to an “official proceeding” related to the

administration of justice — as opposed to a general governmental function — and proscribes

only that conduct that corruptly interferes or impedes that administration of justice, it is

necessary for the indictment to set out the specific “official proceeding” that Mr. Chansley

allegedly obstructed and reflect whether it was a proceeding related to the administration of

justice. This is necessary to inform this Court, and more importantly, Mr. Chansley “with




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reasonable certainty, of the nature of the accusation against him” and to ensure that it falls within

the conduct proscribed by the statute. See Russell, 369 U.S at 766.

        Because Count Two fails to specify the “official proceeding” and, more specifically, the

“proceeding before Congress” Mr. Chansley allegedly obstructed, this count of the indictment is

constitutionally insufficient and this Court must therefore dismiss Count Two.

IV. If this Court Finds that the Indictment Sufficiently Notifies Mr. Chansley that the

Proceeding Before Congress that he Allegedly Obstructed was the Certification of the

Electoral College Vote, the Indictment Still Fails to State an Offense and Must Be

Dismissed

        When considering the sufficiency of the charge in an indictment, a court “’is limited to

reviewing the face of the indictment and, more specifically, the language used to charge the

crimes.’” Hillie 227 F.Supp.3d at 107 (quoting United States v. Sunia, 643 F.Supp.2d 51, 60

(D.D.C. 2009) (emphasis in original)). As set out supra, when considering just the face of the

indictment and the language used in Count Two, that count of the indictment is insufficient and

must be dismissed on that basis alone.

        Of course, Mr. Chansley acknowledges that, although not stated in the indictment, this

Court and the parties are well aware that the “proceeding before Congress” that Mr. Chansley

allegedly obstructed was the certification of the electoral college vote for the 2020 Presidential

Election. See Doc. No. 1 filed 4/21/21 (complaint). Mr. Chansley submits, in the alternative, if

this Court were to hold that the present indictment sufficiently notifies him of the nature of the

charges against him in compliance with the constitutional protections afforded him under the

Fifth and Sixth Amendments, as well as Rule 7(c)(1) of the Federal Rules of Criminal Procedure,

the indictment is still insufficient as it fails to state an offense. More specifically, as set out




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supra, 18 U.S.C. § 1512(c)(2) only prohibits the corrupt obstruction of proceedings before

Congress related to the administration of justice such as a congressional committee investigating

a violation of the law where witnesses are subpoenaed to appear and give testimony or to provide

relevant evidence. It does not prohibit the obstruction of a proceeding before Congress like the

certification of the Electoral College vote, a proceeding wholly unrelated to the administration of

justice. If the allegation is that Mr. Chansley obstructed the certification of the Electoral College

vote, that would not be a crime under 18 U.S.C. § 1512(c).

       This is undoubtedly a case of the Government overcharging a person for conduct that is

more specifically proscribed elsewhere. Other statutes adequately prohibit the conduct that

Mr. Chansley allegedly engaged in.

       No court has ever interpreted an “official proceeding” as that term is used in Section

1512(c) to apply to a legislative function such as the certification of the Electoral College vote.

The Government is asking this Court to go well beyond the plain meaning of the term

“proceeding,” its use in the grammatical context of the “official proceeding” definition, the

broader statutory context, and the legislative history to allow this prosecution to go forward. This

inures to the irreparable detriment of Mr. Chansley. The Court must follow the law and the plain

language of the statute to limit the Government’s overreach and find that Count Two is more

than worthy of dismissal.

       WHEREFORE, PREMISES CONSIDERED, Mr. Chansley respectfully requests this

Honorable Court dismiss Count Two of the Indictment against him.




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Date: June 29, 2021                          Respectfully Submitted,

                                             KODNER WATKINS

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                                CERTIFICATE OF SERVICE

       Signature above is also certification that on June 29, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.




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